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                THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DELTA MEDICAL SYSTEMS,
INC.,

      Plaintiff,

v.
                                     Civil Action No.: 1:21-cv-01687-WMR
DRE HEALTH CORP., DRE
HEALTH CORPORATION,
AHMED ISAAC BAWANY, and
SACATELLE HOLDINGS, LLC,

      Defendants.


 DELTA MEDICAL SYSTEMS, INC.’S RESPONSE IN OPPOSITION TO
        DEFENDANTS’ AMENDED MOTION TO DISMISS
      COMES NOW Plaintiff Delta Medical Systems, Inc. (“Plaintiff” or “Delta

Medical”) and files its Response in Opposition to Defendants DRE Health Corp.

(“DRE Health”), DRE Health Corporation (“DHC”), Ahmed Isaac Bawany

(“Bawany”), and Sacatelle Holdings, LLC’s (“Sacatelle”) (collectively, the

“Defendants”) Amended Motion to Dismiss [Dkt. 20] (“Motion to Dismiss”) and

states as follows:
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                                 INTRODUCTION

       Delta Medical filed this action against Defendants for trademark

infringement and unfair competition under the Lanham Act, as amended, 15 U.S.C.

§§ 1114 and 1125; fraudulent use of trademark and violation of the Georgia

Uniform Deceptive Trade Practices Act under O.C.G.A. §§ 23-2-55 and 10-1-372;

as well as Georgia common law trademark infringement and unfair competition.

Defendants moved to dismiss on the following three grounds: (1) lack of personal

jurisdiction; (2) failure to join indispensable parties; and (3) failure to state a claim

against Defendant Bawany. Defendants’ Motion lacks merit and should be denied

in its entirety.

       In the alternative, if not denied outright, the Motion to Dismiss should be

denied pending completion of jurisdictional discovery, including deposition of

Bawany.      Delta Medical is entitled to jurisdictional discovery as the analysis

below, as well as the supporting declarations and exhibits, show with “reasonable

particularity” that discovery will lead to ample additional proof of Defendants

DRE Health, DHC, and Bawany (the “DRE Defendants”)1 contacts with this forum

are fully sufficient to support the exercise of specific personal jurisdiction.


1
 DRE Health has been administratively dissolved on May 13, 2021 and has “never
conducted any business separate and apart from” DHC. Declaration of A. Isaac
Bawany (“Bawany Decl.”) ¶¶ 4, 7 [Dkt. 20-2]. Accordingly, they shall be treated

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                          RELEVANT ALLEGATIONS

I.    BACKGROUND
      Delta Medical is a distributor of a high-quality medical examination gloves

based in Alpharetta, Georgia. It has enjoyed long-term success from years of

extensive and expensive product development in the industry. As part of its efforts

distinguish its products and build its brand, Delta Medical started using the

trademark NITREX in connection with its medical gloves in March 1994. See

Declaration of Tom Brooks (“Brooks Decl.”) ¶ 7, attached as Exhibit A. Delta

Medical registered its now-incontestable trademark with the U.S. Patent and

Trademark Office (“USPTO”) on March 23, 2003 (Reg. No. 2,824,773). Id. ¶ 8.

Delta Medical has been continuously using the NITREX mark in connection with

its products and its federal registration is still in full force and effect.   See

Declaration of Kseniya ‘Nicole’ Kuprovska (“Kuprovska Decl.”), Ex. 9, attached

as Exhibit B.

      Defendants, also manufacturers and distributors of       personal protection

equipment (“PPE”), directly compete with Delta Medical nationwide and in

Georgia. Delta Medical brought this action to enforce its intellectual property

rights in the NITREX mark because Defendants have used a confusingly similar



as a single entity for purposes of the analysis herein.

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mark, NITEREX, as well as Delta Medical’s exact mark, NITREX, to sell nearly

identical product without a license or authority. Id. ¶¶ 10-11.

       Plaintiff discovered Defendants’ misconduct after Defendants sent an

unsolicited MailChimp email (the “Email”), advertising their infringing products to

Delta Medical’s President and CEO, Tom Brooks. Id. at ¶ 12; see Compl, Ex. D

[Dkt. 1-4].    The March 16, 2021 Email, sent from Sacatelle’s email address

saniglobal@sacatelle.com, targeted this forum by sending an unsolicited

advertisement to a Georgia resident and offering for sale medical examination

gloves under the infringing NITEREX mark. Brooks Decl. ¶ 12.

      A.      Defendants’ Infringing, Improper Use of the “NITEREX®” Mark.
      To investigate Defendants’ trademark infringement, Brooks followed the

link in the email to place an order for 10 boxes of the advertised gloves, which

Sacatelle duly fulfilled. Id. ¶¶ 13-15. Sacatelle’s deposit invoice (the “Invoice”),

Project No. 2670, Deposit Invoice No. D169955, reflecting Brooks’s March 16,

2021 order, refers to the product as both “NITEREX® GLOVES” and “NITREX”

in the same document.2 See Compl., Ex. B [Dkt. 1-2, Page 5]. As shown in

photographs attached to the Complaint, Defendants’ product packaging was also

2
 Curiously, Defendants’ version of the same Invoice reflects a different purchase
date, March 23, 2021. Schwerd Decl., Ex. 1 [Dkt. 20-4]. Furthermore, Defendants
neglected to redact Mr. Brooks’s credit card information, in violation of Local
Rule 5.2(a). Id.

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marked “NITEREX®,” constituting trademark infringement and improper use of

the federal trademark registration symbol. Id.; 15 U.S.C. § 1111.3

      B.   DRE Defendants Ignored Delta Medical’s Cease and Desist Letter,
           Attempted to Register Their Infringing Mark, and Contact Brooks
           to Purchase Delta Medical.
      Delta Medical promptly sent cease and desist letters, first to Sacatelle on

March 30, 2021 (the “Sacatelle C&D Letter”), and then to DRE Health on April 2,

2021 (the “DRE Health C&D Letter”). Brooks Decl. ¶ 17; see Compl., Exs. E-F

[Dkts. 1-4 & -5]. The letters notified Defendants of the reasons their use of the

NITEREX® mark is unlawful, inter alia, and that Delta Medical shall vigorously

enforce its rights if Defendants do not immediately stop misappropriating its

trademark. Id.

      Instead of complying with this request, DRE Defendants doubled down on

their unlawful activity by attempting to register the infringing NITEREX mark

only six days after Plaintiff sent its DRE Health C&D Letter. See Compl., Ex. C

[Dkt. 1-3]; Kuprovska Decl. ¶ 12, Ex. 10. On April 8, 2021, Bawany electronically

executed a declaration on behalf of DHC as part of its USPTO application, filed


3
  The ® symbol may only be used for federally registered trademarks.
Unregistered marks are to be marked with ™. 15 U.S.C. § 1111; TMEP § 906
(22nd ed. Oct. 2018); https://www.uspto.gov/trademarks/basics/what-trademark.
Defendants’ NITEREX mark has never been federally registered with the USPTO.
See Kuprovska Decl. ¶ 12, Ex. 10.

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the following day. Id. U.S. Trademark Application Serial No. 90/635,715 (filed

Apr. 9, 2021).

      The declaration required Bawany to attest to the following:

            To the best of the signatory’s knowledge and belief, no
            other persons, . . . have the right to use the mark in
            commerce, either in the identical form or in such near
            resemblance as to be likely, when used on or in
            connection with the goods/services of such other
            persons, to cause confusion or mistake, or to deceive.

Compl., Ex. C [Dkt. 1-3].      The same form also provides that “willful false

statements . . . are punishable by fine or imprisonment, or both, under 18 U.S.C. §

1001[.]” Id. Bawany signed the declaration, attesting he had no knowledge of

potentially confusingly similar marks immediately after Delta Medical put all

Defendants on notice of the opposite with its cease and desist letters. Id. As of

June 27, 2021, the DRE Defendants’ USPTO application is still pending. See

Kuprovska Decl., Ex. 10.

      Subsequently, Defendants, through Bawany, once again directly reached out

to Brooks. On April 27, 2021, Bawany called Brooks’s Georgia telephone number

and offered to purchase Delta Medical. See Brooks Decl. ¶ 20.

      This series of actions and the false trademark declaration submitted by

Bawany provide further color to Defendants’ intentional effort to reach into this

forum to misappropriate Plaintiff’s goodwill and deprive it of the benefit of its

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intellectual property rights.   Further, additional information and documents,

submitted as exhibits to the Kuprovska and Brooks declarations, attached hereto,

reveal that the infringing NITEREX mark is still being widely used in connection

with Defendants’ products, causing consumer confusion and harm to Plaintiff, as

well as its customers nationwide and here in Georgia.

II.   LEGAL STANDARDS

      A.      Rule 12(b)(2): Lack of Personal Jurisdiction
      On a motion to dismiss for lack of personal jurisdiction, the complaint must

contain “sufficient facts to make out a prima facie case of jurisdiction.” Diamond

Crystal Brands, Inc. v. Food Movers Int’l, Inc., 593 F.3d 1249, 1257 (11th Cir.

2010). “If the defendant submits affidavits challenging the allegations in the

complaint, the burden shifts back to the plaintiff to produce evidence supporting

jurisdiction.” Id. Where the plaintiff’s complaint and supporting evidence conflict

with the defendant’s affidavit evidence, the court must construe all reasonable

inferences in plaintiff’s favor. Madara v. Hall, 916 F.2d 1510, 1514 (11th Cir.

1990).

      B.    Rule 12(b)(7): Failure to Join Indispensable Parties

      Movant bears the burden to prove that failure to join an indispensable party

warrants dismissal pursuant to Rule 19. Fed. R. Civ. P. 19; U-Haul Co. of Arizona



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v. Mayberry, 3:19-CV-156-TCB, 2020 WL 6073874, at *2 (N.D. Ga. July 22,

2020). “[T]he Court may consider both the pleadings and other relevant extra-

pleading evidence.” Id. Importantly, the Court may order joinder of a necessary

non-party, even as an “involuntary plaintiff,” so long as joinder is feasible. Helix

Inv. Mgt., LP v. Privilege Direct Corp., 364 F. Supp. 3d 1343, 1350 (M.D. Fla.

2019). If joinder is impossible, the Court must “determine, in equity and good

conscience, whether the action should go forward” based on the four factors listed

in Rule 19(b). Fair Fight Action, Inc. v. Raffensperger, 413 F. Supp. 3d 1251,

1281-82 (N.D. Ga. 2019).

      C.   Rule 12(b)(6): Failure to State a Claim
      On a Rule 12(b)(6) motion to dismiss, courts must determine whether

plaintiff alleged sufficient facts to show a plausible claim for relief. Speaker v.

U.S. Dep’t. of Health & Human Servs. Ctrs. for Disease Control & Prevention,

623 F.3d 1371, 1379 (11th Cir. 2010). The allegations in the complaint are taken

as true and construed in a light most favorable to the plaintiff. Id. The complaint

need only contain “factual content . . . to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009). The “plausible grounds” standard does not impose a probability

requirement[;] it simply calls for enough facts to raise a reasonable expectation that



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discovery will reveal evidence of [the claim].” Bell A. Corp. v. Twombly, 550 U.S.

544, 556 (2007).

III.   ARGUMENT AND CITATION TO AUTHORITY

       A.   Each Defendant is Subject to Specific Personal Jurisdiction.

       The court undertakes a two-step inquiry to determine whether specific

personal jurisdiction over a non-resident defendant exists: “the exercise of

jurisdiction must (1) be appropriate under the state long-arm statute and (2) not

violate the Due Process Clause of the Fourteenth Amendment.” Diamond Crystal,

593 F.3d at 1257. Delta Medical alleged sufficient facts to meet each prong of this

analysis.

             1.    Plaintiff Satisfied the Georgia Long-Arm Statute.
       Pursuant to the Georgia long-arm statute, courts in this forum may exercise

personal jurisdiction over nonresident defendants when the action arises out of the

enumerated activities connected to this state, including the following: (1)

transacting business in Georgia; (2) tortious conduct in Georgia; or (3) tortious

conduct that causes an injury in Georgia and “the tort-feasor regularly does or

solicits business, or engages in any other persistent course of conduct, or derives

substantial revenue from goods used or consumed or services rendered in this

state[.]” O.C.G.A. § 9-10-91.



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                   i.    Defendants Transacted Business in Georgia Pursuant to
                         O.C.G.A. § 9-10-91(1).
      All four Defendants meet the requirements set forth in subsection (1) of the

Georgia long-arm statute by transacting business in this state that gave rise to

Plaintiff’s claims. O.C.G.A. § 9-10-91(1). Defendants “must have purposefully

done some act or consummated some transaction in Georgia.” Power Guardian,

LLC v. Directional Energy Corp., 904 F. Supp. 2d 1313, 1320 (M.D. Ga. 2012).

      At the outset, Sacatelle engaged in business transactions in this forum which

satisfy subsection (1), and its declaration does not refute Plaintiff’s allegations

forming the basis for jurisdiction over it.      See Declaration of Isaac Schwerd

(“Schwerd Decl.”), ¶¶ 17-18 [Dkt. 20-4]. Namely, Sacatelle does not deny that it

directed the March 16, 2021 Email into this forum to Brooks, and that it has

fulfilled his order. Id. Sacatelle also admits it has made at least six other sales in

this state for $13,855.78.4 Id. ¶ 18. Sacatelle was formed less than a year ago, in



4
  Schwerd’s declaration directly contradicts Defendants’ arguments that the Brooks
order was its sole connection to the forum. Mot. to Dismiss 16 [Dkt. 20-1].
Defendants’ arguments that Brooks placed the order in an attempt to manufacture
jurisdiction also miss the mark. Id. Rather, the order was a logical act of due
diligence to obtain a sample and verify infringement prior to escalating the
situation by engaging counsel and sending cease and desist letters. Brooks Decl. ¶
13.



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October 2020, but has already conducted sufficient transactions in this forum to be

subject to jurisdiction under subsection (1) of the long-arm statute. Id. ¶ 2.

      The DRE Defendants likewise satisfy subsection (1) through their business

transactions.   “Defendant need not physically enter the state,” and its “mail,

telephone calls, and other intangible acts, though occurring while the defendant is

physically outside of Georgia” are relevant to this inquiry. Fronto King, LLC v.

Talal, 1:19-CV-03472-SDG, 2020 WL 7122417, at *7 (N.D. Ga. Sept. 21, 2020).

The Court must “examine all of a nonresident’s tangible and intangible conduct

and ask whether it can fairly be said that the nonresident has transacted any

business within Georgia.” Id.

      Like Sacatelle, DRE Defendants did not physically enter the forum but have

sufficient ‘intangible’ business dealings to meet the requirements of subsection (1).

Bawany’s April 27, 2021 telephone call to Brooks, on behalf of DRE Defendants,

is the most overt example of such direct and targeted business contact with the

forum. See Brooks Decl. ¶ 24. Other activities, including permitting distributors

like Sacatelle to send emails advertising its products into Georgia, fulfilling orders,

and deriving revenue therefrom, and any number of other undisclosed business

transactions, discussed below, are sufficient basis for jurisdiction under subsection

(1) of the long-arm statute.


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      Although Bawany’s carefully worded declaration attempts to distance the

DRE Defendants from their infringing product, it fails to persuade. See generally

Bawany Decl. [Dkt. 20-2]. Specifically, there are numerous factual statements in

Bawany’s declaration that appear to contradict and undermine other evidence

obtained by Plaintiff during its investigation of the infringing activities. First,

Bawany claims DHC sold its infringing products to Sacatelle “with the

understanding” Sacatelle will only re-sell in New Jersey. Id. at ¶ 29. However,

Bawany does not point the Court to any legally binding terms or conditions. Id.

This alleged “limited authorization” appears to lack any corroborating evidence

and is therefore irrelevant for purposes of the analysis here, which analysis

construes all inferences in Plaintiff’s favor. Madara, 916 F.2d at 1514.

      More than fifty Bills of Lading (“BOLs”) show that approximately 211,602

cases of the infringing products marked “NITEREX” and generally described as

“DISPOSABLE EXAM VINYL GLOVES POWDER FREE,” were imported from

Shanghai, China to Los Angeles or Long Beach, California, between November

24, 2020 and April 21, 2021. Brooks Decl. ¶ 21, Ex. 1. Furthermore, the June 22,

2021 press releases announcing the partnership between another global PPE

company and Medx, its official glove distributor and supplier of DRE Health’s

“niterex” gloves indicate DRE Defendants’ sales of these gloves during the


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pandemic have been lucrative and widespread. It is certainly logical to expect that

more than just the infringing shipment of Sacatelle made it to Georgia. See

Kuprovska Decl., Exs. 6-7.

      The questionable veracity of Bawany’s USPTO application, his bad faith

attempt to register his infringing NITEREX mark immediately following notice of

infringement, and improper use of the federal registration mark, taken in

conjunction with DHC’s self-described massive operations across the entire globe,5

cast strong doubt upon Bawany’s self-serving statements denying any contacts

with the State of Georgia. See Bawany Decl. ¶¶ 10, 15, 26, 28 [Dkt. 20-2].

                   ii.   In the Alternative, Plaintiff Requests that this Court Grant
                         Leave to Conduct Limited Jurisdictional Discovery.

      The Eleventh Circuit recognized that “[i]f the jurisdictional question is

genuinely in dispute,” the court may allow limited jurisdictional discovery. Eaton

v. Dorchester Dev., Inc., 692 F.2d 727, 729 n.7 (11th Cir. 1982). Where plaintiff

“alleges sufficient facts to suggest with reasonable particularity the possible

existence of the requisite contacts between the defendant and the forum,” it is

entitled to leave to obtain facts to support its jurisdictional allegations. Majd-Pour

v. Georgiana Cmty. Hosp., Inc., 724 F.2d 901, 903 (11th Cir. 1984). Based on the

5
  As shown on its website, DHC is a global manufacturer, wholesaler, and
distributor, which “operates offices globally in 5 countries, with manufacturing
facilities in 7 countries.” See Kuprovska Decl., Ex. 8.

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foregoing discussion of the inconsistencies and questionable veracity of

Defendants’ declarations, along with the evidence attached to Plaintiff’s

declarations, Plaintiff is entitled to jurisdictional discovery to determine the true

extent of Defendants’ dealings in the State of Georgia and to supplement its

jurisdictional arguments.

                   iii. Defendants are subject to Jurisdiction Under Subsection
                        (3) for Causing Tortious Injury, Engaging in Persistent
                        Conduct, and Deriving Revenue from this Forum.
      All Defendants are subject to this Court’s jurisdiction because they meet the

requirements of O.C.G.A. § 9-10-91(3). Under subsection (3), Georgia courts may

exercise jurisdiction over a non-resident defendant who “[c]ommits a tortious

injury in this state caused by an act or omission outside this state,” and either: (1)

regularly does or solicits business in Georgia; (2) engages in a persistent course of

conduct in Georgia; (3) derives substantial revenue from services rendered in

Georgia; (4) has employees in Georgia; or (5) is authorized to do business in

Georgia.   O.C.G.A. § 9-10-91(3); Diamond Crystal, 593 F.3d at 1262. “The

Georgia Court of Appeals has held that a tort occurs where the actual injury takes

place[.]” Thomas v. Strange Eng’g., Inc., No. CV 111-074, 2012 WL 993244, at

*5 (S.D. Ga. Mar. 22, 2012).




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      Here, all four Defendants engaged in tortious conduct, including passing off

and trademark infringement, which they, at least after receiving Plaintiff’s cease

and desist letters and subsequent correspondence, knew and intended to cause

harm in this forum. Marvin L. Walker & Assocs., Inc. v. A. L. Buschman, Inc., 147

Ga. App. 851 (1978) (finding that a single misrepresentation sent into and causing

injury in Georgia is a sufficient basis for assertion of long-arm jurisdiction). The

consequences of Defendants’ tortious acts caused injury to Plaintiff’s business and

intellectual property rights in Georgia. Accordingly, Defendants’ tortious conduct

resulted in injury within this forum, as required under subsection (3). Thomas,

2012 WL 993244, at *5.

      Sacatelle’s tortious conduct consists of advertising and selling infringing

product in this state. Because these sales form the basis of Plaintiff’s claim and

Sacatelle had sufficient other business dealings in this forum, all elements of

subsection (3) with respect to Sacatelle are satisfied.

      The same result applies to the DRE Defendants, who willfully engaged in

tortious conduct, even after receiving Delta Medical’s cease and desist letters,

intending to injure Plaintiff, its customers, and other consumers nationwide, and

specifically here in Georgia. Despite Defendants’ belated efforts to eliminate

infringing online listings from Amazon and eBay, their infringement lingers on the


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internet and continues to cause harm and confusion. See Kuprovska Decl., Exs. 2-

7. In fact, an eBay listing for Defendants’ infringing products was still using

Plaintiff’s NITREX until as recently as June 23, 2021. Id. at ¶¶ 5-6, Exs. 3-4.

Because Plaintiff’s claims arise out of these activities, and DRE Defendants

engaged in other persistent above-described contact with this forum,6 DRE

Defendants meet all the requirements under subsection (3) of the long-arm statute.

Accordingly, all Defendants meet the requirements to be subject to specific

personal jurisdiction under the long-arm statute.

               2.   The Exercise of Specific Personal Jurisdiction Over Each
                    Defendant Comports with Due Process.
         Defendants’ conduct satisfies the three-part due process inquiry under the

second prong of the jurisdictional analysis.        This inquiry requires that: (1)

plaintiff’s claims arise out of or relate to at least one of the defendant’s contacts

with the forum; (2) defendant purposefully availed himself of the privilege of

conducting activities within the forum state, thus invoking the benefit of the forum

state’s laws; and (3) the exercise of personal jurisdiction comports with the

“traditional notions of fair play and substantial justice.” Louis Vuitton Malletier,

S.A. v. Mosseri, 736 F.3d 1339, 1355 (11th Cir. 2013).


6
    See Section III.A.1, supra.


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      The following four considerations comprise the analysis under the “fair play

and substantial justice” element: “(1) the burden on the defendant; (2) the forum’s

interest in adjudicating the dispute; (3) the plaintiff’s interest in obtaining

convenient and effective relief; and (4) the judicial system’s interest in resolving

the dispute.” Id. at 1358. Defendants’ respective activities in Georgia as discussed

above satisfy each element of the Due Process inquiry.

      None of the Defendants dispute that Delta Medical’s claims arise out of the

parties’ advertising, sales, and other infringing conduct in Georgia, satisfying the

first element of the test. Schwerd Decl. ¶¶ 17-18 [Dkt. 20-4]. Likewise, the

discussion above has shown sufficient facts to establish purposeful availment in

Georgia. With respect to Sacatelle, its six sales in Georgia are sufficient to satisfy

the second element under Due Process.            Id. ¶¶ 2, 18.   Similarly, the DRE

Defendants’ intentional infringement and knowingly causing injury to Plaintiff and

its consumers in the forum, also satisfy the second element.

      Finally, the exercise of jurisdiction does not offend traditional notions of fair

play and substantial justice. First, if Defendants are able to transact business by

selling infringing goods in the State of Georgia, they could reasonably be expected

to litigate in this forum, nor have they alleged any hardship due to the distance.

Fronto King, 2020 WL 7122417, at *8; see also Louis Vuitton, 736 F.3d at 1358


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(stating defendant “has not offered any evidence of [its] finances or any other

limitations . . . to show [it] would be burdened by having to litigate the case in

[here]”). Second, Georgia has “a strong interest in hearing the case and protecting

consumers from confusion that results from trademark infringement.”            Louis

Vuitton, 736 F.3d at 1358. Third, Delta Medical is incorporated in, and maintains a

principal place of business in Georgia and thus has an “undeniable interest in

litigating the case in its chosen forum[.]” Id. Fourth, Georgia has a strong interest

in protecting its citizens from nonresidents’ fraudulent and infringing activity.

Ford Motor Co. v. Montana Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1030 (2021).

             3.   Defendants’ Arguments That the Court Lacks Jurisdiction
                  Over Bawany are Baseless.

      Finally, Defendants’ attempt to shield Bawany from liability has no basis in

law. Georgia law recognizes the exercise of personal jurisdiction over individuals

whose only “contacts with the forum were made in a corporate capacity” if the

individuals undertook specific acts forming the basis of corporate jurisdiction.

Amerireach.com, LLC v. Walker, 719 S.E.2d 489, 496 (Ga. 2011). As discussed

herein, Bawany directed the infringing and tortious conduct on behalf of the

corporate DRE Defendants. Much of his malicious and tortious conduct on behalf

of other Defendants is indisputable, such as his USPTO application with its false

declaration for the infringing NITEREX mark. See Compl. Ex. C [Dkt. 1-3];

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Kuprovska Decl., Ex. 10. Moreover, it is Bawany directing the activities of the

DRE Defendants as evidenced by his call to Brooks. Brooks Decl. ¶ 20.

Defendants failed to proffer any valid evidence to exculpate Bawany, and the

claims as to him are not subject to dismissal.

      Because Delta Medical has shown that both prongs for specific personal

jurisdiction are satisfied with respect to each Defendant, Defendants’ motion to

dismiss for lack of personal jurisdiction must fail.

      B.    Defendants Failed to Show This Action Must be Dismissed for
            Failure to Join an Indispensable Party.
      Defendants’ indispensable party argument is a mere diversion with no basis

in law. Defendants failed to carry their burden as to the indispensable party claim.

Initially, the movant must show under the indispensable party analysis that,

pursuant to Rule 19(a), the non-party is necessary, and joinder is not feasible. U-

Haul, 2020 WL 6073874, at *2. A party is necessary where: (1) in their absence,

the court cannot accord complete relief; (2) the missing party’s interest in the

outcome will be prejudiced if they are not joined; or (3) failure to join will leave an

existing party subject to potential inconsistent obligations. Fed. R. Civ. P. 19(a).

      Joinder is feasible if the non-party may be served with process, and joinder

will not destroy the court’s subject matter jurisdiction. Id.; Raffensperger, 413 F.

Supp. 3d at 1281. “Only if . . . the nonparty cannot be joined. . . [does the Court]

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go to step two” to assess the fairness factors under Rule 19(b). Raffensperger, 413

F. Supp. 3d at 1281.

      Here, Defendants cite to no authority for their proposition that every owner

of jointly owned trademark must be a party to this action. Defendants make

conclusory assertions that trademark co-owners are indispensable parties, but they

cite primarily non-binding cases that are distinguishable on their facts. See, e.g,

JTG of Nashville, Inc. v. Rhythm Band, Inc., 693 F. Supp. 623 (M.D. Tenn. 1988)

(involving a trademark dispute where none of the trademark owners were parties to

an infringement lawsuit). Even then, the holding in JTG contradicts Defendants’

argument as the JTG court denied the motion to dismiss and ordered joinder of the

missing owner. Id. at 627.

      Most importantly, Defendants completely failed to argue joinder is not

feasible, thus failing to carry their burden under Rule 12(b)(7) as a matter of law.

See Commodores Ent. Corp. v. McClary, 822 Fed. Appx. 904, 912 (11th Cir. 2020)

(unpublished) (stating the court need not join an absent co-owner of a mark

residing in New Zealand where movant “did not address feasibility of joinder . . .

and [the absent party] would not have been precluded from suing in future to

determine any ownership rights”). Similarly, this Court recently rejected a party’s

attempt to conflate the likelihood of “inconsistent judgments” with “inconsistent


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obligations,” distinguishing the concepts. U-Haul, 2020 WL 6073874, at *5 (“That

the two suits might result in disparate findings [of] liability limits is irrelevant,”

only whether “an inconsistent obligation might result because a party is unable to

comply with one court’s order without breaching another[.]”).

      Accordingly, Defendants have not shown any possibility of succeeding on

this indispensable party argument and therefore it must be denied. Furthermore,

should the Court determine that the other trademark owners are necessary, it may

order joinder as expressly authorized by Rule 19(a)(2).

      C.    Delta Medical Alleged Sufficient Facts to State a Plausible Claim
            Against Bawany.
      Bawany’s many tortious acts discussed above are more than sufficient to

support Delta Medical’s claims against him in his individual capacity. “Corporate

officers can be held personally liable for contributory trademark infringement.”

Luxottica Group v. Airport Mini Mall, LLC, 169 F. Supp. 3d 1343 (N.D. Ga.

2016); Coach Inc. v. Swap Shop, Inc., 916 F. Supp. 2d 1271, 1279 (S.D. Fla.2012)

(holding that plaintiffs stated a plausible claim that operators of a flea market either

willfully or knowingly permitted infringing conduct, and were therefore

contributorily liable).

      Nothing in the Motion to Dismiss or attached declarations refutes the

allegations against Bawany.      His knowing, persistent infringement, even after

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receiving Delta Medical’s April 2, 2021 cease and desist letter, is ample evidence

to support a “plausible” claim. See Compl., Exs. C, F [Dkt. 1-3 & -5]; Brooks

Decl. ¶ 17. Accordingly, Plaintiff stated a plausible claim based on Bawany’s

infringing conduct, and Defendants’ Rule 12(b)(6) challenge as to him must be

denied.

                                 CONCLUSION

      For the reasons set forth above, Plaintiff respectfully requests that the Court

either deny Defendants’ Motion to Dismiss in its entirety, or alternatively, deny it

pending completion of jurisdictional discovery.

      Respectfully submitted this 30th day of June 2021.

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                     CERTIFICATE OF COMPLIANCE

      Undersigned counsel certifies the foregoing document has been prepared

with one of the font and point selections (Times New Roman, 14 point) approved

by the Court in Local Rule 5.1(C) and 7.1(D).

      Respectfully submitted this 30th day of June 2021.

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                          CERTIFICATE OF SERVICE

      I hereby certify that on this day I electronically filed Delta Medical

Systems, Inc.’s Response in Opposition to Defendants’ Amended Motion to

Dismiss with the Clerk of Court using the CM/ECF system, which will

automatically send e-mail notification of such filing to all attorneys of record.

      Respectfully submitted this 30th day of June 2021.

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